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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION                                MDL 2804
OPIATE LITIGATION                                         Case No. 17-md-2804
This document relates to:                                 Hon. Dan Aaron Polster
Track One Cases


         PLAINTIFFS’ RESPONSE TO MOTION OF NON-PARTY PAUL
          ANDREW PYFER OBJECTING TO PLAINTIFFS’ LISTING OF
                   PYFER AS A LIVE STREAM WITNESS

           This Court has already determined that Plaintiffs can subpoena the live-stream trial

     testimony of certain witnesses in accordance with Rules 43 and 45 of the Federal Rules of

     Civil Procedure, so Plaintiffs will not reiterate the general legal arguments supporting that

     determination. Instead, Plaintiffs will address the three witness-specific arguments raised by

     Mr. Pyfer in his motion: (i) that he is not under the control of any Defendant; (ii) that there

     is not good cause or compelling circumstances justifying his live-stream testimony; and

     (iii) that allowing his live-stream testimony will “enormously burden and inconvenience”

     him. Each of these arguments is without merit. Mr. Pyfer’s Motion should be denied.

I.         Mr. Pyfer is under Teva’s control and, regardless, can be compelled to testify via
           live-stream as a former employee of Cephalon.

           Mr. Pyfer was Cephalon’s National Sales and Marketing Director from 2000 to 2010.

     Mr. Pyfer argues that his status as a “former employee of Cephalon” exempts him from the

     subpoena power of this Court and places him outside the bounds of this Court’s September

     12, 2019 Order concerning contemporaneous video trial testimony. (See Andrew Pyfer’s

     Motion to Quash, Dkt. #2822 at pp. 4-5). However, as this Court has made clear, it arrived
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at its ruling “for all the same reasons articulated by MDL Judge Rebecca Doherty in In re Actos . . .”

(See 9/12/19 Order (Dkt. #2594) (emphasis added). Importantly, Actos made no practical

distinction between former employees and current employees. In fact, Actos specifically

granted plaintiff’s request for “current or former employees of the Defendant.” Id. at *4, *6,

*7 (emphasis added). Actos simply held that Rules 43 and 45 should be read in tandem to

allow for distant witnesses to testify via contemporaneous live video testimony at a

courthouse within a 100-mile range of their location.

       Perhaps most importantly, the policy considerations underlying the preference for

live-testimony over deposition testimony applies with equal force whether plaintiff

subpoenas a former or current employee. As Judge Doherty observed in the Actos MDL,

contemporaneous live testimony is favored in the MDL context because “the verdict in the

bellwether trials . . . will be used in this representative manner, and therefore . . . should

present the testimonial evidence of both sides as fairly and completely as possible.” Actos,

2014 WL 107153 at *6. See also In re Vioxx Prod. Liab. Litig., 438 F. Supp. 2d 664, 668 (E.D.

La. 2006) (describing a deposition as “a sedative prone to slowly erode the jury’s

consciousness until truth takes a back seat to apathy and boredom,” and finding that “[t]he

100 mile rule forces this predicament upon the jury.”). The same policy considerations exist

in this MDL, which is arguably the most complex ever.

       Moreover, contrary to Mr. Pyfer’s assertions otherwise, his actions in this litigation

has demonstrated that he is under Teva’s control. Mr. Pyfer was produced as a deposition

witness by Teva’s counsel, on a date selected by Teva’s counsel. During the deposition

Mr. Pyfer was represented both by Teva’s counsel and his own personal attorney. Ex. A

(Pyfer Dep.) at 15:4-16. Significantly, Mr. Pyfer’s personal attorney provided to him and

paid for by Teva. Id. at 15:20 – 16:8, 16:23 – 17:4. Mr. Pyfer also met with Teva’s counsel

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      on three separate occasions (totaling about 14-15 hours) in order to prepare for the

      deposition and has been actively coordinating with Teva on this litigation. Id. at 17:5-19.

      Throughout this litigation, Plaintiffs have not been able to contact Mr. Pyfer directly, but

      rather only through Teva’s counsel or counsel paid by Teva. Mr. Pyfer and Teva cannot

      have it both ways. They cannot coordinate on litigation strategy, have Teva incur all

      litigation costs, and then change course at the time of trial to claim that Mr. Pyfer is a “non-

      party.” Accordingly, Mr. Pyfer should be deemed to be under Teva’s control for purposes

      of this litigation.

II.          Good cause and compelling circumstances justify Mr. Pyfer’s live-stream
             testimony.

             As this Court is well aware, given the time restraints for this trial, the parties were

      compelled to narrow their witness lists and deposition designations significantly. Given

      these restrictions, Plaintiffs selected Mr. Pyfer as their live-stream witness for Teva because

      he is uniquely knowledgeable regarding numerous key subject matters Plaintiffs must present

      at trial. Specifically, Mr. Pyfer’s testimony covers six key areas for Plaintiffs’ case regarding

      the branded drugs Actiq and Fentora:

                 •    Branded Marketing: Mr. Pyfer was integral in developing and implementing
                      Cephalon’s successful and sophisticated plan to market Actiq for off-label,
                      non-cancer uses.

                 •    Unbranded Marketing: Mr. Pyfer was involved in the planning for the
                      unbranded marketing of Actiq and Fentora.

                 •    Front Groups: Mr. Pyfer was involved in the planning for the use of front
                      groups in the marketing of Actiq and Fentora.

                 •    Regulatory: Mr. Pyfer was involved in ensuring that the marketing department
                      complied with the provisions of the Actiq Risk Management Program (RMP)
                      and preparing the SOP for the marketing department with regard to this plan.

                 •    Internal Compliance Audit: The internal audit by Cephalon in 2004 found
                      numerous violations of the Actiq RMP. The draft audit was circulated to a
                      limited group in Cephalon, including Mr. Pyfer. Mr. Pyfer was in charge of
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               responding to certain violations found in the audit concerning the marketing
               of the drug.

           •   Criminal Plea: The 2008 criminal plea and fines concerned the off-label
               marketing of Actiq while Mr. Pyfer was strategic marketing director for the
               drug. He is knowledgeable about the plea and fines and believes he ultimately
               was let go from Cephalon as a result.

      Originally, Plaintiffs had intended to present more than a dozen Teva-related

witnesses, either live or by videotape, on a number of key areas related to Plaintiffs’ claims

against Teva. Unlike with the distributor defendants, Plaintiffs are asserting both marketing-

related claims and SOM-related claims against Teva. Once the Court limited Plaintiffs to 65

total witnesses for the entire case, Plaintiffs had to cut the number of Teva witnesses

significantly. Plaintiffs designated two Teva witnesses essential to their SOM-related claims:

Teva’s DEA Compliance Department Head, Colleen McGinn, and Teva’s SOM Manager,

Joseph Tomkiewicz. Plaintiffs selected Mr. Pyfer as their live-stream witness because he

covered the six key areas of Plaintiffs’ marketing case (listed above). Thus, Plaintiffs have

designated three witnesses (McGinn, Tomkiewicz, Pyfer) to prove their claims against Teva.

By comparison, Teva has designated twelve liability fact witnesses for the non-Actavis portion

of the case.

      Mr. Pyfer’s deposition testimony is not sufficient. His primary focus at Cephalon was

with branded marketing. Given the limited time allowed for his deposition, Plaintiffs

focused primarily on this area for their deposition questioning. Plaintiffs had intended to

rely on the testimony of other Teva employees on other key areas in which they were

involved. At the time of Mr. Pyfer’s deposition, Plaintiffs were not aware that the number

of witnesses they would be able to call at trial would be limited to such a significant extent.

Consequently, Plaintiffs will be greatly prejudiced if Mr. Pyfer is not permitted to testify as

a live-stream witness at trial.


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             Moreover, Plaintiff has demonstrated good cause and compelling circumstances. As

       discussed above, Teva has exerted control over Mr. Pyfer by representing him at his

       deposition, paying for his personal attorney, and coordinating with him regarding this

       litigation. Teva would certainly receive a tactical advantage if his live-stream testimony is

       not permitted.     Additionally, the need for contemporaneous video trial testimony is

       especially heightened in the MDL context, which by its very nature, is complex. The

       flexibility needed to manage this incredibly complex litigation weighs heavily in favor of

       allowing his live-stream testimony. Finally, neither Mr. Pyfer nor Teva will suffer any true

       prejudice as a result of Mr. Pyfer providing this live-stream testimony. Mr. Pyfer argues that

       he will be “enormously” inconvenienced by having to provide this testimony, but his

       concerns are greatly exaggerated. Given the time restraints for this trial, his testimony will

       last one day at most (and likely less). Mr. Pyfer resides in Wayne, Pennsylvania, a suburb of

       Philadelphia, which is located approximately 15 miles away from Teva’s counsel’s main

       office. Plaintiffs understand that Mr. Pyfer has certain work obligations over the next six

       weeks and are willing to be flexible as to the date of his testimony in order to avoid any

       conflicts with those prior commitments. Any minimal inconvenience Mr. Pyfer will endure

       by providing a few hours of testimony from a location close to his residence is certainly

       outweighed by importance of his testimony, the magnitude of this litigation, and the severe

       prejudice to Plaintiffs if he is not permitted to testify via live-stream.

III.         Alternatively, if Mr. Pyfer is not permitted to testify via live-stream, Plaintiffs
             request permission to either designate additional testimony from other witnesses
             or conduct a trial deposition of Mr. Pyfer in order to cover the topics not
             previously or fully covered in his first deposition.

             If the Court is inclined to grant Mr. Pyfer’s Motion, Plaintiffs request that, in addition

   to being permitted to play relevant portions of Mr. Pyfer’s deposition, they be allowed to

   designate three additional witnesses to briefly testify (one live, two by deposition) regarding
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the following areas that Plaintiffs had intended to cover with Mr. Pyfer’s live-stream

testimony:

             •   David Brennan (live): Mr. Brennan lives in Ohio. He is under subpoena and
                 does not object to testifying live in this case. He can provide essential
                 testimony regarding his internal audit of Cephalon’s compliance with the
                 Actiq RMP, and how Cephalon and the actions of Mr. Pyfer’s marketing
                 department were in breach of that plan. This audit was transmitted to a limited
                 number of internal employees, including Mr. Pyfer who was responsible for
                 responding to certain provisions relating to off-label use of the drug. Plaintiffs
                 estimate that their direct examination of Mr. Brennan would take
                 approximately one hour.

             •   Stacey Beckhardt (video): Ms. Beckhardt was responsible for public relations
                 and front groups, and communicated with Mr. Pyfer about this portion of the
                 marketing plan which Mr. Pyfer was involved in preparing. Ms. Beckhardt
                 testified that Mr. Pyfer was the head of marketing, and that she believed the
                 large increase in off-label usage was the result of the marketing strategy put in
                 place. Her designated video testimony is 1 hour, 8 minutes.

             •   Matthew Day (video): Mr. Day was heavily involved in the overall unbranded
                 marketing campaigns for Fentora. His designated video testimony is 48
                 minutes.

Given that Teva has designated twelve non-Actavis liability fact witnesses, Plaintiffs would be

severely prejudiced if they could not at least adduce the above testimony as a replacement for

Mr. Pyfer’s live-stream testimony.

        Alternatively, Plaintiffs request leave to conduct a trial deposition of Mr. Pyfer (either

on a weekend day or holiday in the next few weeks) so that they can question him on the

topics not previously or fully covered during his first deposition.




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Dated: October 16, 2019.


                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       I certify that the foregoing instrument was served via the Court’s ECF system to all
counsel of record on October16, 2019.

                                            /s/ Peter H. Weinberger
                                            Peter H. Weinberger




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